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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:                                                            Chapter 11

    WOODBRIDGE GROUP OF COMPANIES, LLC,                               Case No. 17-12560 (BLS)
    et al.,1
                                                                      (Jointly Administered)
                               Remaining Debtors.

    MICHAEL GOLDBERG, as Liquidating Trustee                          Adv. Proc. Case Nos. (SEE EXHIBIT 1)
    of the Woodbridge Liquidation Trust, successor in
    interest to the estates of WOODBRIDGE GROUP
    OF COMPANIES, LLC, et al.,

                                       Plaintiff,

    v.

    (SEE EXHIBIT 1 ATTACHED HERETO),

                                       Defendants.

                                             AFFIDAVIT OF SERVICE

STATE OF NEW YORK                     )
                                      ) ss
COUNTY OF NASSAU                      )

I, Alison Moodie, being duly sworn, depose and state:

1.           I am a Senior Case Manager with Epiq Class Action & Claims Solutions, Inc.,2 the claims

and noticing agent in the above-captioned proceeding. Our business address is 1985 Marcus

Avenue, Suite 200, Lake Success, New York 11042-1013.




1
         The Remaining Debtors and the last four digits of their respective federal tax identification number are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California
91423.

2
             Epiq Class Action & Claims Solutions, Inc. acquired Garden City Group, LLC on June 15, 2018.
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2.     On August 3, 2020, at the direction of Pachulski Stang Ziehl & Jones LLP (“Pachulski

Stang”), and Klee, Tuchin, Bogdanoff & Stern LLP (“Klee Tuchin”), Counsel to the Woodbridge

Liquidation Trust, I caused true and correct copies of the following documents to be served by

facsimile on the parties identified on Exhibit A annexed hereto (Master Service List and Notice of

Appearance Parties with facsimile numbers), and by e-mail on the parties identified on Exhibit B

annexed hereto (Master Service List and Notice of Appearance Parties with e-mail addresses):3

              Notice of Agenda of Matters Scheduled for Telephonic Hearing on August 5th,
               2020 at 9:30 A.M. (Prevailing Eastern Time) Before the Honorable Brendan
               L. Shannon (“Notice of Telephonic Hearing”) [Docket No. 4511]: and

              [Canceled] Amended Notice of Agenda of Matters Scheduled for Telephonic
               Hearing on August 5th , 2020 at 9:30 A.M. (Prevailing Eastern Time) Before
               the Honorable Brendan L. Shannon (“Amended Notice of Telephonic
               Hearing”) [Docket No. 4512].

3.     On August 3, 2020, also at the direction of Pachulski Stang and Klee Tuchin, I caused true

and correct copies of the Notice of Telephonic Hearing, and Amended Notice of Telephonic

Hearing to be served by e-mail on the parties identified on Exhibit C (Affected Defendants with

e-mail addresses), and by first class mail on the parties identified on Exhibit D (Affected

Defendants without e-mail addresses).




3
       These parties include a Notice of Appearance party who has consented to email service only pursuant to
       Del. Bankr. L.R. 2002-1(d) and 5005-4.
                                                      2
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4.       On August 4, 2020, also at the direction of Pachulski Stang and Klee Tuchin, I caused true

and correct copies of the Notice of Telephonic Hearing, and Amended Notice of Telephonic

Hearing to be served first class mail on Jeffery S Nimmow c/o Husch Blackwell LLP, Attn Jeffery

J Liotta, 20800 Swenson Dr, Waukesha, WI 53186 (Affected Defendants with failed e-mail

addresses).




                                                      /s/ Alison Moodie
                                                      Alison Moodie

     Sworn to before me this
     10th day of August , 2020
     /s/ Panagiota Manatakis
     Notary Public, State of New York
     No. 01MA6221096
     Qualified in Queens County
     Commission Expires April 26, 2022




                                                  3
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                                             EXHIBIT 1
                                      List of Adversary Cases

Defendant(s)                                                                              Case No.
Thomas Furman                                                                          19-50299
Stefan Kolosenko                                                                       19-50301
Provident Trust Group, Custodian for the Benefit of Steven Mizel Roth IRA, Steven      19-50303
Mizel
Alexander S. Aduna, Emma R. Aduna                                                      19-50307
Sylvan R. Jutte, Jeannette E. Jutte                                                    19-50308
Brian D. Korkus, Robin L. Korkus                                                       19-50309
Russell Bullis, Betsy Bullis                                                           19-50310
Mary M. Noyes, Gale E. Noyes                                                           19-50312
Darrell Sandison, Mattie Sandison                                                      19-50313
Delton Christman, Jean Christman                                                       19-50314
Michael Skurich, Joyce Skurich                                                         19-50315
Donald Wanner, Ladonna Wanner                                                          19-50316
Floyd G Davis, Lavonne J. Davis                                                        19-50317
George T. Iwahiro, Charlene M. Iwahiro                                                 19-50319
Toomas Heinmets, Pamela Heinmets                                                       19-50322
Richard E. Attig, Stephanie L. Attig                                                   19-50325
Jolene Bishop                                                                          19-50326
Jason Curtis                                                                           19-50327
Janet V. Dues                                                                          19-50328
Dena Falkenstein                                                                       19-50329
Judy Karen Goodin                                                                      19-50330
Dennis W. Hueth                                                                        19-50331
Christian Lester                                                                       19-50332
Joseph Lin                                                                             19-50334
Jane Marshall                                                                          19-50335
Laurence J. Nakasone                                                                   19-50337
Blaine Phillips                                                                        19-50338
George Edward Sargent                                                                  19-50340
Jeff Schuster                                                                          19-50341
Jennifer Tom                                                                           19-50342
Anita Bedoya, Mark Bedoya                                                              19-50343
Anita Bedoya, Julian Duran                                                             19-50344
Ronald Cole                                                                            19-50346
Ronald Draper                                                                          19-50347
Stephen B. Moore                                                                       19-50350
Lawrence J. Paynter                                                                    19-50351
Nannette Tibbitts                                                                      19-50353
Provident Trust Group, Custodian for the Benefit of Claro Chen IRA, Claro Chen         19-50558
Mainstar Trust, Custodian for the Benefit of Marie Podkowinski, Marie Podkowinski      19-50559
Provident Trust Group, Custodian for the Benefit of James R. Dunning IRA, James R.     19-50562
Dunning
Ascensus, LLC, Custodian for the Benefit of Donald L. Engle Jr. IRA, Donald L. Engle   19-50566
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Defendant(s)                                                                                    Case No.
Mainstar Trust, Custodian for the Benefit of Lorie Gorman, Lorie Gorman                      19-50567
Mainstar Trust, Custodian for the Benefit of Stephen Weinberg, Stephen Weinberg              19-50573
Provident Trust Group, Custodian for the Benefit of Klenell Jensen Inherited IRA,            19-50575
Klenell Jensen
IRA Services Trust Company, Custodian for the Benefit of James C. Chang, James C             19-50576
Chang
Mainstar Trust, Custodian for the Benefit of John Korbierecki, John Korbierecki              19-50578
IRA Services Trust Company, Custodian for the Benefit of Dwight L. Atherton IRA,             19-50581
Dwight L Atherton
Ascensus, LLC, Custodian for the Benefit of Deborah J. Murphy IRA, Deborah J.                19-50583
Murphy
IRA Services Trust Company, Custodian for the Benefit of Jerry D. Ainsworth IRA,             19-50585
Jerry D Ainsworth
Ascensus, LLC, Custodian for the Benefit of Larry A. Norton IRA, Larry A. Norton             19-50586
IRA Services Trust Company, Custodian for the Benefit of Ivan Orr, Ivan Orr                  19-50588
Ascensus, LLC, Custodian for the Benefit of Peddada Family Trust ICA, Tarakam                19-50591
Peddada
Ascensus, LLC, Custodian for the Benefit of Patricia Simmons IRA, Patricia Simmons           19-50594
Provident Trust Group, Custodian for the Benefit of Marie Walters-Gill IRA; Marie            19-50600
Walters-Gill IRA
Provident Trust Group, Custodian for the Benefit of Catherine Williams IRA, Catherine        19-50606
Williams
Paul F. Happersett, in his capacity as Trustee of the Paul F. Happersett Revocable Living    19-50735
Trust Agreement Dated 07/15/98, Paul F. Happersett
Vicki L. Wickwire, in her capacity as Trustee of the Pauline A. Conley Irrevocable Trust,    19-50738
Pauline A. Conley
Michael Reszewski, in his capacity as Trustee of the Reszewski Revocable Living Trust        19-50739
Dated 11/18/14, Michael Reszewski
Anthony Arthur Meola Jr., in his capacity as Trustee of the Anthony Arthur Meola Jr.         19-50741
2008 Trust, Anthony Arthur Meola Jr.
Bonnie Gae Grieff, in her capacity as Trustee of the Bonnie Gae Grieff Family Trust          19-50743
dates 12/04/06, Bonnie Gae Grieff
Terry B. Griffin, in his capacity as Trustee of the Griffin Family Trust, Terry B. Griffin   19-50744
Mainstar Trust, Custodian for the                                                            19-50749
Benefit of Robert J. Duenckel, Robert J Duenckel, Arlene R
Duenckel
Mainstar Trust, Custodian for the                                                            19-50750
Benefit of Timothy Hawley, Timothy Hawley
Mainstar Trust, Custodian for the                                                            19-50751
Benefit of Ronald R. Smith, Ronald R Smith
Irmgard Herrmann                                                                             19-50752
Eugene Oehler                                                                                19-50753
Jose Reta                                                                                    19-50755
Christ Temple Baptist Church                                                                 19-50756
Provident Trust Group, Custodian for the Benefit of Gerald Davis IRA, Gerald Davis           19-50758
Provident Trust Group, Custodian for the Benefit of John B. Smith IRA, John B. Smith         19-50760
Douglas M. Brunner, in his capacity as Trustee of the Radiant Trust, Douglas M.              19-50762
Brunner
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Defendant(s)                                                                                  Case No.
RMG Property III LLC                                                                       19-50763
Rene C. Marsolan, Judy Marsolan                                                            19-50775
Kenneth R. Carberry                                                                        19-50787
Billy Ray Chesnut                                                                          19-50788
Roderick P. Fries                                                                          19-50789
Mainstar Trust, Custodian for the Benefit of Sherry L. Collver, Sherry L. Collver          19-50794
Denis G. Birgenheir                                                                        19-50799
Udo Salomon                                                                                19-50801
Dominic E. Abbadessa                                                                       19-50802
Mainstar Trust, Custodian for the Benefit of Jeanne Marie Spezia; Jeanne Marie Spezia      19-50806
IRA Services Trust Company, Custodian for the Benefit of Lynette Eddy IRA, Lynette         19-50808
Eddy
IRA Services Trust Company, Custodian for the Benefit of Andrew Chase Jr. IRA,             19-50809
Andrew Chase Jr.
IRA Services Trust Company, Custodian For The Benefit of Vicki Andren IRA, Vicki           19-50813
Andren
IRA Services Trust Company, Custodian For The Benefit of Earl Eddy IRA, Earl Eddy          19-50814
Gwendolyn Bissette                                                                         19-50815
Carlo Fisco                                                                                19-50817
Marcella P. Best                                                                           19-50819
David E. Brown                                                                             19-50820
Althea McCormick                                                                           19-50823
Kirk W Chubka                                                                              19-50826
Mary Ellen Nuhn                                                                            19-50829
John J. Begley                                                                             19-50830
Ascensus, LLC d/b/a Provident Trust Group, Custodian for the Benefit of Sharon R.          19-50831
Ferry IRA, Sharon R. Ferry
Clayton Nakasone                                                                           19-50832
Provident Trust Group, Custodian for the Benefit of Clifton Hartley IRA, Clifton Hartley   19-50834
Provident Trust Group, Custodian for the Benefit of Martha C. Maclean Roth IRA,            19-50835
Martha C. Maclean
Provident Trust Group, Custodian for the Benefit of Kerstin Rodriguez IRA, Kerstin         19-50837
Rodriguez
Rose M Lowery                                                                              19-50838
Elizabeth Haskell                                                                          19-50839
Lawrence M Naumann                                                                         19-50840
Shirley A Rottmann                                                                         19-50843
Hart Placement Agency, Inc.                                                                19-50847
Christopher J Watson                                                                       19-50848
Robert Elmer                                                                               19-50850
Ronda Rogovin                                                                              19-50852
Peter Greenberg                                                                            19-50855
JetsuiteX, Inc.                                                                            19-50856
Miranda Sandoval                                                                           19-50857
Mercedes-Benz International Services LTD                                                   19-50860
Provident Trust Group, Custodian for the Benefit of Thomas A. Piazza IRA, Thomas A         19-50867
Piazza
Kathy Hagen, in her Capacity as Trustee to the Kathy A. Hagen Declaration of Trust         19-50869
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Defendant(s)                                                                                Case No.
Dated March 2, 1998, Kathy Hagen
Mary J. Happersett, in her Capacity as Trustee of the Mary J. Happersett Revocable        19-50870
Living Trust Agreement Dated 07/15/98, Mary J. Happersett
JAL Poultry and Swine Farms LLC                                                           19-50873
Gilchrist Metal Fabricating Co., Inc.                                                     19-50874
Provident Trust Group, Custodian for the Benefit of John C. Miller IRA, John C. Miller    19-50875
Anthony Abbadessa, Catherine Abbadessa                                                    19-50878
Donald Abney, Lee Ann Abney                                                               19-50881
Billy McNeese, Sally McNeese                                                              19-50883
Ascensus, LLC, custodian for the benefit of James D. Helgeson IRA, James D.               19-50894
Helgeson, Allianz Life Insurance Company Of North America Contract #71186833,
custodian for the benefit of the Helgeson Family Trust, James Helgeson, in his capacity
as Trustee of the Helgeson Family Trust
Kirk T. Griffith, Mainstar Trust, custodian for the benefit of Kirk Griffith TW003085     19-50899
Leiah Kitare                                                                              19-50901
James D. Lawless, in his capacity as Trustee of the Lawless Trust, James D. Lawless,      19-50902
Doris Lawless
Greg Wylen Anderson; Paulette Anderson, aka Paula Anderson; Leenan, LLC; Balanced         19-50907
Financial, Inc.
Fred Randhahn; Karen Randhahn; Ascensus, LLC d/b/a Provident Trust Group,                 19-50908
Custodian for the Benefit of Antelope Women's Center 401K PSP for the Benefit of
Karen Randhahn; Kronos Global Advisors, Inc.
Edward Boyack, Solely in his Capacity as Special Administrator of the Estate of William   19-50909
Perry, a/k/a Herbert Perry; Provident Trust Group, Custodian for the Benefit of Herbert
Perry
IRA Services Trust Company, Custodian for the Benefit of Harold L. Lustig IRA; Harold     19-50910
L. Lustig
John D. Bigelow, Rebecca G. Bigelow                                                       19-50912
Phillip Ball (aka Larry Ball)                                                             19-50913
Michael Kandravi                                                                          19-50914
Maxwell Financial Group, Inc., Rosemary Malmstedt                                         19-50915
Kim Butler                                                                                19-50917
Joseph Rubin Inc., a New York corporation, Joseph Rubin                                   19-50918
Mark Goldfinger                                                                           19-50920
All Mark Insurance Services, Inc., Cameron Johnson                                        19-50921
Chris Dantin Financial Services, LLC, Chris A. Dantin, Sr.                                19-50922
Lighthouse Wealth Management Group, Inc.                                                  19-50923
David A. Scholl                                                                           19-50926
Danny Van Houten                                                                          19-50927
Christopher Longworth                                                                     19-50928
Asset Management Consultants of NC, Inc., Carlton Scott Phillips                          19-50929
Retirement Services LLC                                                                   19-50931
Robert M. Linderman                                                                       19-50932
Jerome Schwartz, Associated Insurance Group, Incorporated                                 19-50938
Roger L. Owens, Jennifer M. Lepore                                                        19-50940
Edu. Wealth Advisors LLC, Roger Dobrovodsky                                               19-50942
Eric Little                                                                               19-50944
Frontier Advisors Group LLC, David Nichols                                                19-50945
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Defendant(s)                                                                                 Case No.
Jonathan Froude                                                                           19-50946
John Fagan                                                                                19-50947
Dayspring Advisors Group LLC, Ronnie Weller                                               19-50948
DDI Advisory Group, LLC, Richard Dean                                                     19-50949
Harvey & Companies, Inc., Ronald J. Harvey                                                19-50950
Ivy League College Planning Strategies, Inc., Michael Rappa                               19-50951
James Lamont                                                                              19-50952
Jessica J. Hotchkiss                                                                      19-50953
Mainstar Trust, Administrator and Custodian for the Benefit of Stacey Renee Maxted        19-50956
T2176604, Stacey Renee Maxted, Gerbera, LLC
Gregg W. Butler                                                                           19-50958
Darin Baker                                                                               19-50961
Gerard J. O'Neill                                                                         19-50964
James E. Campbell Jr. Inc. (d/b/a Campbell Financial Corp.), and James E. Campbell, Jr.   19-50965
Dime Strategies, Inc. and Ronald P. Diez                                                  19-50966
Provident Trust Group, Custodian for the Benefit of Geneva W. Guilbeaux IRA; Diana        19-50968
Engelhardt, Solely in her Capacity as Executrix to the Estate of Geneva W. Guilbeaux;
Diana Engel Solely in her Capacity as Executrix to the Estate of Charles D. Guilbeaux
RH Principled Investments, and Raymond Han                                                19-50970
Harold Plain                                                                              19-50974
Joseph W. Isaac                                                                           19-50976
Randy Robertson                                                                           19-50977
Joseph A. Loox                                                                            19-50978
Matthew Lorenc                                                                            19-50979
Donovan Knowles                                                                           19-50980
Gregory Jandt                                                                             19-50981
Joseph D. Salvemini                                                                       19-50987
James A. Klohn & Assoc., P.A.                                                             19-50989
Queen B Services                                                                          19-50995
Matthew Gilchrist                                                                         19-50997
John J. McNamara                                                                          19-50998
John E. McEnerney                                                                         19-50999
David Valencia, Valencia Financial Services, LLC                                          19-51000
Bette Tydings                                                                             19-51002
Ricki Dean Wiggs a/k/a Ricki Wiggs                                                        19-51003
Retirement Planning Solutions, LLC, Gordon Hannah                                         19-51004
Daniel P. Orfin                                                                           19-51005
Dennis Drake, Mid-Atlantic Brokers, Inc.                                                  19-51006
Dan Reisinger                                                                             19-51007
Richard Anthony Miller                                                                    19-51008
Gold King International Inc. and Justin M. Matherne                                       19-51010
Harris Financial Management and John G. Harris                                            19-51011
Gaulan Financial LLC                                                                      19-51012
Yanitsha M. Feliciano                                                                     19-51015
Legacy Financial Network and Retirement Services, Inc. and Jeffrey Nimmow                 19-51016
Security Financial, LLC, Ameritrust Advisors of SC, LLC                                   19-51020
Searchlight Financial Advisors, LLC, Caroline Rakness                                     19-51022
Michael P. Litwin                                                                         19-51023
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Defendant(s)                                                                                Case No.
Provident Trust Group, Custodian for the Benefit of Thomas S. Cardosi IRA; Thomas S.     19-51024
Cardosi
Michael A. Trujillo                                                                      19-51025
Theresa Sheridan                                                                         19-51026
Kenneth Halbert                                                                          19-51027
Safety of Principle, Inc.                                                                19-51029
Security First Financial, LLC, Jerald Kagarise                                           19-51030
Bank of America Corporation                                                              19-51031
Smithson Financial Group LLC, Todd Smithson                                              19-51032
Alfred S. Malianni, In His Capacity As Co-Trustee Of The Alfred S. And Gail E.           19-51034
Malianni Revocable Living Trust January 15, 2011; Gail E. Malianni, in her capacity as
co-trustee of the Alfred S. and Gail E. Malianni Revocable Living Trust January 15,
2011; Alfred S. Malianni; Gail E. Maliani
Alternative Portfolio Solutions LLC and Richard Renshaw                                  19-51036
Annuity Alternatives of America, LLC                                                     19-51037
Basic Financial Services Inc., Basic Wealth Advisors, Inc., Fred C. Johnson              19-51039
TWH Annuities & Insurance Agency, Inc., Gryphon Financial Services                       19-51042
Sycamore Group, Inc., Bender W. Mackey                                                   19-51043
Crosier Financial, Inc., d/b/a Crosier Financial, John Reed Crosier                      19-51045
Uma Gajavada                                                                             19-51046
Jay N. Brown                                                                             19-51047
Robert Biscardi Jr.                                                                      19-51048
Arash Tashvighi                                                                          19-51049
Ascensus, LLC, Administrator and Custodian for the Benefit of Christopher M. Soulier     19-51050
Roth IRA, Christopher M. Soulier
Provident Trust Group, Administrator and Custodian for the Benefit of Qun Hong Yin       19-51052
Roth IRA, Qun Hong Yin, Qun Hong Yin, as Trustee of the Qun Hong Domissy Yin
Living Trust
Vickie A. Costello                                                                       19-51055
Tangible Assets Investments, LLC, Charles Thorngren                                      19-51058
Shelburne Management, LLC, Dennis Carpenter                                              19-51061
Wieniewitz Financial LLC, Trae Wieniewitz                                                19-51062
To The Max Marketing, Inc.                                                               19-51066
Structured Strategies, LLC, Alan K. Hoffman                                              19-51067
S.J. Financial Services, L.L.C., Glenn Johnson                                           19-51068
Deb Brundage                                                                             19-51069
Prestige Wealth Management, Inc.                                                         19-51072
Arbuckle Management LLC                                                                  19-51074
Matthew Schwartz, Matte Black Inc.                                                       19-51077
Albert D. Klager, Atlantic Insurance & Financial Services Inc.                           19-51079
Provident Trust Group, Custodian for the Benefit of Gail Marie Bush IRA, Gail Marie      19-51133
Bush, Gail Marie Bush as Trustee of the Gail Marie Bush Trust Dated 12/21/2001
Vipinbhai D. Patel, Saroj Patel                                                          19-51134
Guy R. Burningham                                                                        19-51135
IRA Services Trust Company, Custodian for the Benefit of Richard Derf Sep IRA,           19-51136
Richard Derf
Greg Horning, Cari Horning                                                               19-51137
Harry R. Culotta, in his Capacity as Trustee of the Harry R. Culotta Trust Dated         19-51138
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Defendant(s)                                                                   Case No.
11/16/16, Harry R. Culotta
FIC, LLC                                                                  19-51140
